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                                                 Christopher A Wyatt
                                                                             Generated on: 10/19/2020




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Employment Screening:

You may not use this information when evaluating a person for employment, reassignment, promotion, or retention

Hiring of Household Workers:

Including, but not limited to, nannies and domestic workers

Tenant Screening

Including, but not limited to, leasing a residential or commercial space

Educational Qualification:

Including, but not limited to, a person's qualifications for an educational program or scholarship

Credit or Insurance:

Accessing the risk of existing credit obligations of an individual and/or determining eligibility for issuing credit or insurance

Business Transactions Initiated by an Individual Customer:

Reviewing a personal customer account to determine whether the person continues to meet the terms of the account

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Christopher A Wyatt
Spring, TX / Age 58


Personal Overview
 Name:                       Christopher A Wyatt

 Age:                        58

 Born on:                    11/1961

 Address:                    406 Spring Lakes Hvn Spring, TX 77373

 Aliases:                    Carol Wyatt

                             Christopher A Wyatt

                             Christopher Wyatt

                             Chris Wyatt

                             A Wyatt

                             C Wyatt

                             Chrisopher Wyatt

                             Christoph A Wyatt

                             Christopher Etal Wyatt

                             Chris Alan Wyatt

                             Christopher Alan Wyatt

                             Wyatt Christoph

                             Sandi Wyatt




Contact Info                                                                               19 Contact
                                                                                              Found
                                                                                                      Info


 #          Phone Numbers                                            Phone Type

 1          832-768-0003 (Best Match)                                Mobile

 2          727-534-9655                                             Mobile

 3          281-787-0904                                             Mobile

 4          281-651-6035                                             Home Phone

 5          713-651-6035

 6          281-651-5551                                             Work Fax

 7          832-620-9023                                             Possible Cell Phone

 8          832-488-3304                                             Possible Cell Phone

 9          281-288-0306

 10         6516035

 11         917-620-7247

                                                                                                             3
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#        Email Addresses                                                               Email Type

1        wyattc71@yahoo.com (Best Match)                                               Personal

2        wyattsping@aol.com                                                            Personal

3        wyattspring@aol.com                                                           Personal

4        brenham@cwix.com

5        sldwyatt06@gmail.com

6        brenham@cwi1.com

7        cwyatt1643@gmail.com

8        cwyatt@peoplepc.com




Address History                                                                                               7 Addresses
                                                                                                                Found

#    Address                                                                Address Type            Last Seen Date

1    406 Spring Lakes Hvn Spring, TX 77373 (Best Match)                                             07/2016

2    9311 Zurich Ct Houston, TX 77070                                                               10/1999

3    4707 Pin Oak Park Apt 522 Houston, TX 77081                                                    07/1987

4    957 PO Box Porter, TX 77365                                                                    07/1987

5    5454 Newcastle St Apt 1946 Houston, TX 77081                                                   N/A

6    1333 Gears Rd Apt 2602 Houston, TX 77067                                                       N/A

7    2014 Lexington Woods Dr Spring, TX 77373                                                       N/A




Relatives                                                                                                     20 Relatives
                                                                                                                 Found

1st Degree

#              Name                                Age    Address

1              TINA MARIE WYATT                    55
                                                          29915 Roberts Trl Magnolia, TX 77354
                                                          First seen: 06/2018, Last seen: 06/2020

                                                          16403 Grants Manor Ct Cypress, TX 77429
                                                          First seen: 05/2009, Last seen: 05/2009

                                                          2014 Lexington Woods Dr Spring, TX 77373
                                                          First seen: N/A, Last seen: N/A

2              SANDRA L NOWAK                      53
                                                          406 Spring Lakes Hvn Spring, TX 77373
                                                          First seen: 07/2006, Last seen: 10/2014

                                                          8727 Point Park Dr Apt 1122 Houston, TX 77095
                                                          First seen: 12/2004, Last seen: N/A

                                                          820 Gessner Rd Ste 10 Houston, TX 77024
                                                          First seen: N/A, Last seen: N/A




                                                                                                                             4
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3              HAYDEN NICHOLAS WYATT   24
                                             1625 N Whistling Straits Ave Apt 206 Fayetteville, AR 72704
                                             First seen: N/A, Last seen: N/A

                                             406 Spring Lakes Hvn Spring, TX 77373
                                             First seen: N/A, Last seen: N/A

4              HAYLEIGH WYATT          N/A
                                             9844 Cypresswood Dr Apt 1902 Houston, TX 77070
                                             First seen: 02/2017, Last seen: 02/2017

                                             29915 Roberts Trl Magnolia, TX 77354
                                             First seen: N/A, Last seen: N/A

5              JERRY D WYATT           81
                                             406 Spring Lakes Hvn Spring, TX 77373
                                             First seen: 06/2013, Last seen: 06/2013

                                             4317 Sablan Ln Milton, FL 32583
                                             First seen: 03/2012, Last seen: 03/2012

                                             1817 Wheeler Rd Gulf Breeze, FL 32563
                                             First seen: 04/2005, Last seen: 04/2005


2nd Degree

#              Name                    Age   Address

1              JATONA LOUISE WADE      60
                                             555 Spring Park Center Blvd Apt 12202 Spring, TX 77373
                                             First seen: 04/2002, Last seen: 04/2002

                                             1300 SW 108th Pl Oklahoma City, OK 73170
                                             First seen: N/A, Last seen: N/A

                                             25650 Interstate 45 Spring, TX 77386
                                             First seen: N/A, Last seen: N/A

2              ALBERT THOMAS WADE      37
                                             30410 Highland Ct Magnolia, TX 77354
                                             First seen: 10/2000, Last seen: 03/2001

                                             162 S Walden Elms Cir Spring, TX 77382
                                             First seen: N/A, Last seen: N/A

                                             11415 Autumn Chase Dr Houston, TX 77065
                                             First seen: N/A, Last seen: N/A

3              DANA W WADE             59
                                             19022 Buffalo River Way Houston, TX 77084
                                             First seen: 12/1995, Last seen: 05/2017

                                             5454 Newcastle St Apt 106 Houston, TX 77081
                                             First seen: N/A, Last seen: N/A

                                             3231 Tynemeadow Ct Katy, TX 77449
                                             First seen: N/A, Last seen: N/A

4              TIMOTHY W WADE          59
                                             19022 Buffalo River Way Houston, TX 77084
                                             First seen: 12/1994, Last seen: 12/2017

                                             5454 Newcastle St Apt 1837 Houston, TX 77081
                                             First seen: 07/1993, Last seen: 07/1994

                                             3231 Tynemeadow Ct Katy, TX 77449
                                             First seen: N/A, Last seen: N/A



                                                                                                           5
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5      MADISON NOWAK           N/A
                                     20819 Magnolia Brook Ln Cypress, TX 77433
                                     First seen: 04/2020, Last seen: 04/2020

6      KENNETH W DAVILA        54
                                     14735 Kendallbrook Dr Houston, TX 77095
                                     First seen: 11/2007, Last seen: 10/2015

                                     7503 Log Cradle Dr Houston, TX 77041
                                     First seen: N/A, Last seen: N/A

                                     13606 Chimney Sweep Dr Houston, TX 77041
                                     First seen: N/A, Last seen: N/A

7      ELEAZAR P DAVILA        76
                                     14735 Kendallbrook Dr Houston, TX 77095
                                     First seen: 07/2007, Last seen: 03/2017

                                     13606 Chimney Sweep Dr Houston, TX 77041
                                     First seen: 09/2006, Last seen: 09/2006

                                     1103 E 23rd St Apt 2 Houston, TX 77009
                                     First seen: 11/1995, Last seen: 01/2003

8      LUCY MARTINEZ           75
                                     14735 Kendallbrook Dr Houston, TX 77095
                                     First seen: 07/2007, Last seen: 02/2018

                                     17519 Wild Willow Ln Houston, TX 77084
                                     First seen: 06/2004, Last seen: 03/2007

                                     13606 Chimney Sweep Dr Houston, TX 77041
                                     First seen: N/A, Last seen: N/A

9      DARLENE D LOPEZ         51
                                     14735 Kendallbrook Dr Houston, TX 77095
                                     First seen: 09/2007, Last seen: 06/2020

                                     17519 Wild Willow Ln Houston, TX 77084
                                     First seen: 04/2004, Last seen: 08/2007

                                     5819 Greenpark Manor Ln Houston, TX 77085
                                     First seen: N/A, Last seen: N/A

10     MARIA LOPEZ DAVILA      54
                                     7311 Log Cradle Dr Houston, TX 77041
                                     First seen: 04/2020, Last seen: 04/2020

                                     2311 Baylor St Houston, TX 77009
                                     First seen: 11/1999, Last seen: 04/2005

11     MARIA DAVILA            N/A
                                     7311 Log Cradle Dr Houston, TX 77041
                                     First seen: 04/2020, Last seen: 04/2020

                                     14735 Kendallbrook Dr Houston, TX 77095
                                     First seen: 07/2016, Last seen: 07/2016

                                     8440 Easton Commons Dr Apt 514 Houston, TX 77095
                                     First seen: N/A, Last seen: N/A




                                                                                        6
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12          LUCITA P DAVILLA      89
                                        7935 Ellinger Ln Houston, TX 77040
                                        First seen: 01/2018, Last seen: 01/2018

                                        7937 Ellinger Ln Houston, TX 77040
                                        First seen: 08/2012, Last seen: 06/2013

                                        14950 Meyer Ave Allen Park, MI 48101
                                        First seen: N/A, Last seen: N/A

13          GABRIEL R DAVILA      50
                                        2840 Shadowbriar Dr Apt 804 Houston, TX 77077
                                        First seen: 09/2008, Last seen: 06/2014

                                        10498 Fountain Lake Dr Apt 134 Stafford, TX 77477
                                        First seen: N/A, Last seen: N/A

                                        11770 Westheimer Rd Apt 2308 Houston, TX 77077
                                        First seen: N/A, Last seen: N/A


14          TONYA L WYATT         60
                                        52511 McKenzie Hwy Spc 9 Blue River, OR 97413
                                        First seen: 04/2020, Last seen: 04/2020

                                        16331 Sandalwood St Fountain Valley, CA 92708
                                        First seen: 10/1993, Last seen: 07/2016

                                        11376 69th Ave Seminole, FL 33772
                                        First seen: N/A, Last seen: N/A

15          PERRY DON WYATT       81
                                        11376 69th Ave Seminole, FL 33772
                                        First seen: 07/2007, Last seen: 11/2008

                                        503 150th Ave Slip 20 Madeira Beach, FL 33708
                                        First seen: 02/1999, Last seen: 04/2002




Neighbors                                                                                   10 Neighbors
                                                                                               Found

#    Name                         Age    Address

1    HERBERT P LEYENDECKER        83
                                         407 Spring Lakes Hvn Spring, TX 77373
                                         First seen: 07/1987, Last seen: 07/2020

2    DAN M LONG                   62
                                         403 Spring Lakes Hvn Spring, TX 77373
                                         First seen: 07/1987, Last seen: 07/2020

3    JOANNE M LONG                64
                                         403 Spring Lakes Hvn Spring, TX 77373
                                         First seen: 07/1987, Last seen: 07/2020

4    NORMA KAY FITZCHARLES        81
                                         402 Spring Lakes Hvn Spring, TX 77373
                                         First seen: 07/1987, Last seen: 07/2020

5    GARY MITCHELL                N/A
                                         9314 Zurich Ct Houston, TX 77070
                                         First seen: 12/2017, Last seen: 07/2020




                                                                                                           7
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6       FRANCES BARRELLI                          N/A
                                                              9303 Zurich Ct Houston, TX 77070
                                                              First seen: 02/2019, Last seen: 07/2020


7       JENNIFER L JEZ                            N/A
                                                              9302 Zurich Ct Houston, TX 77070
                                                              First seen: N/A, Last seen: 07/2020

8       JENNIFER LYNN JEZ                         37
                                                              9302 Zurich Ct Houston, TX 77070
                                                              First seen: N/A, Last seen: 07/2020

9       JORDAN E BOUCHER                          N/A
                                                              4707 Pin Oak Park Apt 515 Houston, TX 77081
                                                              First seen: 01/2018, Last seen: 07/2020

10      DARIUS DONTREAL LEWIS                     25
                                                              4707 Pin Oak Park Apt 515 Houston, TX 77081
                                                              First seen: 01/2018, Last seen: 07/2020




Associates                                                                                                       1 Associates
                                                                                                                   Found

#       Name                        Age           Address

1       KENIA LOPEZ                 N/A
                                                  2014 Lexington Woods Dr Spring, TX 77373
                                                  First seen: 12/2016, Last seen: 04/2018




Professional                                                                                                           8 Jobs
                                                                                                                         Found

#    Company                              Title                                Industry             Started on   Ended on

1    WYATT CONSULTING SERVICES            CHIEF EXECUTIVE OFFICER              N/A                  N/A          N/A

2    BRENHAM CLEANERS, INC.               PRESIDENT                            N/A                  N/A          N/A

3    BRENHAM CLEANERS, INC.               DIRECTOR                             N/A                  N/A          N/A

4    BRENHAM CLEANERS, INC.               P                                    N/A                  N/A          N/A

5    BANK UNITED                          N/A                                  N/A                  N/A          N/A

6    Wyatt Consulting Services            CEO                                  Legal Services       05/01/2010   N/A

7    Litton Loan Servicing                VP                                   N/A                  01/01/2001   12/31/2010

8    columbia wire iron works             N/A                                  N/A                  N/A          N/A




Education                                                                                                          1 Schools
                                                                                                                     Found

#       School                                          Degree                                  Dates Attended

1       University of North Texas                       BA/Science, Physics                     N/A to N/A




Usernames
                                                                                                                                 8
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                                                                                                                        0 Usernames
                                                                                                                          Found




Social Media                                                                                                          12 Social
                                                                                                                         Found
                                                                                                                                Media


 #      Network                                 Profile Link

 1      linkedin                                https://www.linkedin.com/in/chris-wyatt-0383a942

 2      complaintsboard.com                     https://www.complaintsboard.com/complaints/union-telecom-c496517.html

 3      litton-loan-                            https://litton-loan-servicing.pissedconsumer.com/new-jersey/piscataway-
        servicing.pissedconsumer.com            township/RT-AB.html

 4      complaintsboard.com                     https://www.complaintsboard.com/complaints/nationstar-mortgage-lewisville-texas-
                                                c278422.html

 5      other                                   http://www.wyattconsultingservices.com

 6      other                                   https://www.linkedin.com/school/university-of-north-texas/

 7      other                                   https://www.linkedin.com/redir/redirect

 8      facebook                                https://www.facebook.com/sldwyatt

 9      klout                                   http://klout.com/SandiWyatt

 10     pinterest                               http://www.pinterest.com/sldwyatt/

 11     twitter                                 https://twitter.com/SandiWyatt

 12     gravatar                                https://gravatar.com/wyattspring




Photos                                                                                                                      4 Photos
                                                                                                                              Found


 Please log into your BeenVerified, Inc. account to view photos for this report.




Possible Owned Properties                                                                                                 1 Properties
                                                                                                                            Found
Disclaimer: Please be advised that assets may be current or historical and actual value varies.
 #    Address                                             Value        Year Built     Beds        Baths   Owners

 1    406 SPRING LAKES HVN SPRING, TX 77373               $284,153     1999           4           4       CHRISTOPHER A WYATT




Possible Owned Automobiles                                                                                              5 automobiles
                                                                                                                          Found
Disclaimer: Please be advised that assets may be current or historical and actual value varies.
                                                           Est.                                                             Match
 #    Description                              MSRP                     VIN                           Registered To
                                                           Value                                                            Type

 1    2012 NISSAN SENTRA                       $19,390     $8,976       3N1AB6AP3CL735840             HAYDEN WYATT          Partial

 2    2005 CHEVROLET SILVERADO                 $37,520     $16,550      1GCHC23245F949123             CHRISTOPHERA          Partial
      2500HD                                                                                          WYATT



                                                                                                                                         9
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3   2003 DODGE RAM PICKUP 1500   $31,060   $8,326    1D7HA18D53S329885   CHRISTOPHER       Exact
                                                                         WYATT

4   2014 DODGE DURANGO           $35,995   $23,489   1C4RDHDG7EC591726   SANDRA WYATT      Partial

5   1999 FORD EXPLORER           $34,125   $18,737   1FMZU32E9XUA27993   CHRISTOPHER       Exact
                                                                         WYATT




Possible Owned                                                                            0 Aircrafts
                                                                                            Found
Aircrafts


Possible Owned Watercrafts                                                              0 Watercrafts
                                                                                          Found




Criminal & Traffic Records                                                                6 Criminal
                                                                                            Records




                                                                                                        10
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1. CRIMINAL RECORD

Name:             CHRISTOPHER ALAN WYATT

Date of birth:    11/30/1961

County:           DALLAS

State:            TX

Race:             WHITE

Sex:              Male

Offense Details

Case              M-8339849
Number:

Date:             04/01/1983

Court Details

Case              M-8339849
Number:

Date:             09/18/1986

Description:      CRIMINAL COUNTY COURT 6

Disposition:      AGREED PLEA OF GUILTY BEFORE THE
                  COURT.

Level:            MISDEMEANOR CLASS A

Offense:          CRIM TRESPASS A

Arrest Details

Agency:           TX0570001




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2. CRIMINAL RECORD

Name:             CHRISTOPHER ALAN WYATT

Date of birth:    11/30/1961

County:           DALLAS

State:            TX

Race:             WHITE

Sex:              Male

Offense Details

Case              F-8385297
Number:

Date:             04/01/1983

Court Details

Case              F-8385297
Number:

Date:             06/21/1983

Description:      CRIMINAL DISTRICT COURT 2

Disposition:      FELONY CASE TRANSFERRED TO A COUNTY CRIM

Offense:          CRIM TRES BLDG

Arrest Details

Date:             04/01/1983

Agency:           TX0570100




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3. CRIMINAL RECORD

Name:             CHRIS WYATT

Date of birth:    11/30/1961

County:           DALLAS

State:            TX

Race:             WHITE

Sex:              Male

Offense Details

Case              M-8338793
Number:

Date:             10/03/1982

Court Details

Case              M-8338793
Number:

Date:             01/02/1986


Description:      CRIMINAL COUNTY COURT 4

Disposition:      CHARGE DISMISSED.

Level:            MISDEMEANOR CLASS A

Offense:          THEFT 20-200 CK

Arrest Details

Agency:           TX0570001




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4. CRIMINAL RECORD

Name:             CHRISTOPHER ALAN WYATT

Date of birth:    11/30/1961

County:           DALLAS

State:            TX

Race:             WHITE

Sex:              Male

Offense Details

Case              MB7903084
Number:

Court Details

Case              MB7903084
Number:

Date:             09/19/1979

Description:      CRIMINAL COUNTY COURT 2

Disposition:      AGREED PLEA OF GUILTY BEFORE THE
                  COURT.

Fine:             10000

Offense:          UNLAWFUL WEAPON




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5. CRIMINAL RECORD

Name:             CHRISTOPHER ALAN WYATT

Date of           11/30/1961
birth:

State:            TX

Weight:           120

Hair:             BROWN

Eyes:             BROWN

Race:             WHITE

Sex:              Male

Offense Details

Court Details

Date:             07/29/1983

Disposition:      CONVICTED Status:COURT PHASE

Offense:          BURGLARY

Arrest Details

Date:             05/19/1983

Agency:           PLANO PD




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      6. CRIMINAL RECORD

      Name:               CHRISTOPHER ALAN WYATT

      Date of             11/30/1961
      birth:

      State:              TX

      Weight:             120

      Hair:               BROWN

      Eyes:               BROWN

      Race:               WHITE

      Sex:                Male

      Offense Details

      Court Details

      Date:               07/29/1983

      Disposition:        CONVICTED Status:COURT PHASE

      Offense:            BURGLARY

      Arrest Details

      Date:               05/19/1983

      Agency:             PLANO PD




    Bankruptcies                                                                                                                           0 Bankruptcy
                                                                                                                                             Records




    Judgments &
    Liens
    This section is locked. Upgrade this report to view this section.




    Licenses
    This section is locked. Upgrade this report to view this section.



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